               IN THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          ASHEVILLE DIVISION
                    Civil Case No. 1:14-cv-00073-MR
              [Criminal Case No. 1:11-cr-00107-MR-DLH-2]


JAMES DOUGLAS KEITH,      )
                          )
         Petitioner,      )
                          )
    vs.                   )              MEMORANDUM OF
                          )              DECISION AND ORDER
UNITED STATES OF AMERICA, )
                          )
         Respondent.      )
                          )

       THIS MATTER comes before the Court on an initial review of

Petitioner’s Motion to Vacate, Set Aside or Correct Sentence pursuant to

28 U.S.C. § 2255 [Doc. 1].         No response is necessary from the

Government.

I.     BACKGROUND

       On December 6, 2011, Petitioner was indicted by the Grand Jury in

this District on one count of possession of methamphetamine with intent to

distribute, in violation of 21 U.S.C. § 841(a)(1) (Count 1); one count of

possession of a firearm by a felon, in violation of 18 U.S.C § 922(g)(1)

(Count 2); and one count of possession of a firearm during and in

furtherance of the drug trafficking crime charged in Count 1, in violation of



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18 U.S.C. § 924(c)(1)(A) (Count 3). [Criminal Case No. 1:11-cr-00107, Doc.

11: Indictment].

         Petitioner was appointed counsel and soon entered into a written plea

agreement with the Government. Pursuant to this agreement, Petitioner

agreed to plead guilty to Count 1 in exchange for the Government’s

agreement to dismiss the remaining two counts of the Indictment. [Id., Doc.

29: Plea Agreement]. On February 22, 2012, Petitioner appeared with

counsel before U.S. Magistrate Judge Dennis L. Howell for his Plea and

Rule 11 hearing. After being placed under oath, Petitioner averred that he

could hear and understand the questions posed by the Court, that he was

not under the influence of any drugs or medications, and that he had taken

no medications within the last 48 hours. Petitioner filed notice with the

Court prior to the hearing that he had been treated for mental illness while

incarcerated within the Mississippi Department of Corrections and had

been prescribed medication although he did not provide the date of

treatment. [Id., Doc. 32: Addendum to Acceptance and Entry of Guilty

Plea].

         During the plea colloquy, the Court carefully reviewed the elements of

Count 1 and the potential penalties that Petitioner faced upon conviction

and Petitioner confirmed that he understood the charge and penalties if


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convicted on Count 1. Petitioner averred that he understood that he could

elect to plead not guilty and require the Government to prove his guilt

beyond a reasonable doubt at trial and that he was agreeing to waive his

right to contest the charges and had decided to plead guilty because he

was in fact guilty as charged. The Government summarized the terms of

the plea agreement and Petitioner averred that he understood and agreed

with those terms. Petitioner acknowledged that he was satisfied with the

services of his attorney and that no one had promised him a particular

sentence or anything else that was not set forth in the plea agreement.

Finally, Petitioner acknowledged that no one had coerced or forced him to

plead guilty. The Court accepted Petitioner’s plea of guilty after finding that

such plea was knowingly and voluntarily entered. [Id., Doc. 31: Acceptance

and Entry of Guilty Plea].

      The U.S. Probation Office prepared a presentence report (PSR) in

advance of Petitioner’s sentencing hearing. The PSR noted that Petitioner

qualified as a career offender pursuant to § 4B1.1 of the U.S. Sentencing

Guidelines Manual (USSG) based on two prior convictions for aggravated

robbery, which he sustained in Tennessee in 1994, and one conviction for

conspiracy to possess with intent to distribute heroin, which he sustained in

Oklahoma in 2001. [Id., Doc. 47: PSR ¶¶ 21, 35, 36]. Based on a total


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offense level of 33 and a criminal history category of VI, and a statutory

range of not less than 5 years and not more than 40 years’ imprisonment,

the probation officer calculated Petitioner’s Guidelines range to be 235 to

293 months in prison. [Id. ¶ 57].              After Petitioner submitted pro se

objections to the PSR, the probation officer filed a supplement to the PSR

countering those objections.1 [Id., Doc. 50].

      On March 20, 2013, Petitioner appeared with counsel for his

sentencing hearing.        The Court first confirmed that the answers that

Petitioner provided during his Plea and Rule 11 hearing were true and that

he would provide the same answers during his sentencing hearing if those

same questions were then posed by the Court.                    Petitioner’s counsel

affirmed that he was satisfied that Petitioner understood the questions

during the Rule 11 hearing and during the sentence hearing. Petitioner

acknowledged that he intended to be bound by his guilty plea and that he

was in fact guilty of the conduct charged in Count 1 of the Indictment. The

Court accepted his guilty plea after finding that it was knowingly and

voluntarily entered and that the Petitioner understood the charges, potential

penalties and consequences of his guilty plea. The parties stipulated that


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 The pro se objections addressed the factual circumstances surrounding Petitioner’s
criminal history and have no impact on the issues raised by Petitioner in this collateral
proceeding.
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the factual basis as set forth in the presentence report supported

Petitioner’s guilty plea and the Court entered a judgment finding Petitioner

guilty.

      The Court found that Petitioner’s Guidelines range was 235 to 293

months’ imprisonment and then granted the Government’s motion for a

downward departure based on Petitioner’s substantial assistance under §

5K1.1 of the Guidelines which resulted in a new range of 188 to 235

months’ imprisonment.

      Petitioner’s counsel addressed the Court and noted that Petitioner

had a long criminal history and a long history of substance abuse which

had contributed to his criminal pursuits. Petitioner’s counsel also noted

Petitioner’s desire that the Court be informed that Petitioner had Hepatitis

A, B, and C. Petitioner then addressed the Court and stated that he was

admitting for the first time that he was a drug addict and the drugs had

controlled his decision making since he was 7 or 8 years old. Petitioner

noted that he had participated in a class while awaiting sentencing that

helped him to admit that he has a problem with substance abuse and that

he wanted to be a productive citizen upon his release from prison.

      Petitioner was sentenced to 188 months’ imprisonment.                   In

pronouncing the sentence, the Court noted for the Bureau of Prisons that


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Petitioner had a long history of substance abuse and recommended that he

be allowed to participate in treatment while incarcerated. The Court further

noted that Petitioner had a history of mental health issues and

recommended that he be allowed to participate in treatment while in BOP

custody. [Id., Doc. 55: Judgment in a Criminal Case]. Petitioner further

was advised of his right to appeal his conviction and sentence.

        Petitioner did not file a direct appeal. Instead, in May 2013, after his

time for filing a direct appeal expired, Petitioner filed a pro se motion

questioning whether he may have benefitted from a mental health

evaluation prior to sentencing. [Criminal Case No. 1:11-cr-00107, Doc. 58].

Noting that Petitioner was still represented by counsel, the Court denied

Petitioner’s pro se effort to challenge or modify his judgment. [Id., Doc. 60].

        In March 2014, Petitioner filed the present § 2255 motion to vacate,

the allegations of which will be addressed herein.

II.     STANDARD OF REVIEW

        Pursuant to Rule 4(b) of the Rules Governing Section 2255

Proceedings, sentencing courts are directed to examine motions to vacate,

along with “any attached exhibits and the record of prior proceedings” in

order to determine whether a petitioner is entitled to any relief. The Court

has considered the record in this matter and applicable authority and


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concludes that this matter can be resolved without an evidentiary hearing.

See Raines v. United States, 423 F.2d 526, 529 (4th Cir. 1970).

III.     DISCUSSION

         In this § 2255 proceeding, Petitioner raises only one ground for relief,

namely, that he should have received a mental health evaluation prior

being sentenced. [Doc. 1 at 4]. Petitioner contends that his counsel was

ineffective in failing to move for a mental evaluation and he explains that he

did not appeal his judgment because he “did not know if he [asked] the

lawyer to seek a mental evaluation and he didn’t do it that [Petitioner] could

appeal.” [Id. at 3].

         The Sixth Amendment guarantees that in all criminal prosecutions,

the accused shall have the right to the effective assistance of counsel for

his defense. U.S. Const. amend. VI. In order to prevail on a claim of

ineffective assistance of counsel, a petitioner must show that: (1) “counsel’s

representation fell below an objective standard of reasonableness,” and (2)

“the     deficient performance prejudiced the defense.”            Strickland     v.

Washington, 466 U.S. 668, 687-88 (1984).               In measuring counsel’s

performance, there is “a strong presumption that counsel’s conduct falls

within the wide range of reasonable professional assistance.” Id. at 689. A

petitioner seeking post-conviction relief bears a “heavy burden” to


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overcome this presumption. Carpenter v. United States, 720 F.2d 546, 548

(8th Cir. 1983). Conclusory allegations do not overcome the presumption

of competency. Id.

      To demonstrate prejudice, Petitioner must demonstrate “‘not merely

that the errors at . . . trial created a possibility of prejudice, but that they

worked to his actual and substantial disadvantage, infecting his entire trial

with error of constitutional dimensions.’” Murray v. Carrier, 477 U.S. 478,

493 (1986) (emphasis omitted) (quoting United States v. Frady, 456 U.S.

152, 170 (1982)). Under these circumstances, Petitioner “bears the burden

of proving Strickland prejudice.” Fields v. Attorney Gen. of State of Md.,

956 F.2d 1290, 1297 (4th Cir. 1992) (citing Hutchins v. Garrison, 724 F.2d

1425, 1430-31 (4th Cir. 1983)).      If Petitioner falls short of meeting his

burden here, then “a reviewing court need not consider the performance

prong.” Fields, 956 F.2d at 1297 (citing Strickland, 466 U.S. at 697). In

considering the performance prong, the Court must not grant relief solely

because Petitioner can show that, but for counsel’s performance, the

outcome of the proceeding would have been different.              See Sexton v.

French, 163 F.3d 874, 882 (4th Cir. 1998). Rather, the Court “can only

grant relief under . . . Strickland if the ‘result of the proceeding was

fundamentally unfair or unreliable.’ ” Id. (quoting Lockhart v. Fretwell, 506


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U.S. 364, 369 (1993). Finally, in the context of a guilty plea, in order to

demonstrate prejudice a petitioner must present a reasonable probability

that but for counsel’s allegedly deficient conduct, he would have elected to

plead not guilty and insisted on proceeding to trial. See Hill v. Lockhart,

474 U.S. 52, 58-59 (1985).

     The Court first notes that Petitioner did not raise any claims regarding

a possible mental evaluation during his Rule 11 hearing or at any time prior

to entry of judgment. Petitioner did, however, admit under oath during his

Rule 11 hearing that he understood the nature of the charge against him,

the potential penalties and the overall nature of Rule 11 proceedings, and

he acknowledged that he was satisfied with the services of his attorney and

that he was in fact guilty as charged in Count 1.         Moreover, Petitioner

averred that he was entering his guilty plea willfully, freely and knowingly.

Petitioner confirmed the knowing and voluntary nature of his guilty plea

during his sentencing hearing and this Court concluded that he had in fact

understood the nature of the Rule 11 proceeding and that his plea was

knowingly and voluntarily entered.        During sentencing, Petitioner never

raised any issue as to whether he misunderstood the Rule 11 proceedings

or that he might have benefitted if he was ordered to undergo a mental

evaluation prior to sentencing.


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      “[A] defendant’s solemn declarations in open court affirming [a plea]

agreement “carry a strong presumption of verity.” United States v. White,

366 F.3d 291, 295 (4th Cir. 2004) (quoting Blackledge v. Allison, 431 U.S.

63, 74 (1977)). Courts “must be able to able to rely on the defendant’s

statements made under oath during a properly conducted Rule 11 plea

colloquy.” United States v. Lemaster, 403 F.3d 216, 221 (4th Cir. 2005)

(citing United States v. Bowman, 348 F.3d 408, 417 (4th Cir. 2003)).

“Indeed, because they do carry such a presumption, they present ‘a

formidable barrier in any subsequent collateral proceedings.’” White, 366

F.3d at 295-96 (quoting Blackledge, supra).

      In his § 2255 motion, Petitioner does not contend that his mental

state rendered his guilty plea unknowing or involuntary. Rather, he states

in a conclusory fashion that counsel’s failure to seek a mental evaluation

was per se ineffective assistance of counsel and that he was prejudiced by

this failure. This argument is without merit.

      The evidence contained in his PSR demonstrates that Petitioner has

a long history of drug activity and the Court credited his statement during

sentencing that he has had a substance abuse problem from a very young

age. The Court further considered his long history of substance abuse and

mental health issues when fashioning his sentence and specifically


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recommending that he be allowed to participate in treatment while in BOP

custody.

      After considering the record in this matter, the Court finds that

Petitioner has failed to demonstrate that counsel’s failure to pursue a

mental health evaluation affected his ability to enter a knowing, voluntary

and intelligent guilty plea, or that his attorney provided ineffective

assistance of counsel in failing to seek the evaluation or that he was

prejudiced by his attorney’s action or omission. Based on the foregoing,

the Court finds that Petitioner has failed to satisfy his burden to

demonstrate any entitlement to relief in this collateral proceeding his §

2255 motion will therefore be dismissed.

      Finally, pursuant to Rule 11(a) of the Rules Governing Section 2255

Cases, the Court declines to issue a certificate of appealability as Petitioner

has not made a substantial showing of a denial of a constitutional right. 28

U.S.C. § 2253(c)(2); Miller-El v. Cockrell, 537 U.S. 322, 336-38 (2003) (in

order to satisfy § 2253(c), a petitioner must demonstrate that reasonable

jurists would find the district court’s assessment of the constitutional claims

debatable or wrong); Slack v. McDaniel, 529 U.S. 474, 484 (2000) (holding

that when relief is denied on procedural grounds, a petitioner must

establish both that the correctness of the dispositive procedural ruling is


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debatable, and that the petition states a debatably valid claim of the denial

of a constitutional right).



                                    ORDER

      IT IS, THEREFORE, ORDERED that Petitioner’s Section 2255

Motion to Vacate [Doc. 1] is DENIED and DISMISSED.

      IT IS FURTHER ORDERED that pursuant to Rule 11(a) of the Rules

Governing Section 2255 Cases, the Court declines to issue a certificate of

appealability.

      The Clerk is respectfully directed to close this civil case.

      IT IS SO ORDERED.
                                 Signed: May 23, 2014




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